  Case 1:23-cr-00102-SAG
       Case 1:23-cr-00102-SAG
                          Document
                              Document
                                   40 *SEALED*
                                        57 Filed 10/10/24
                                                 Filed 09/17/24
                                                           Page 1
                                                                Page
                                                                  of 261 of 26



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

UNITED STATES                                *
     v.                                      *        Criminal No. 1:23-cr-00102-SAG
                                             *
WILLIAM ZEV STEEN                            *          UNDER SEAL

******************************************************************************
                    DEFENDANT’S SENTENCING MEMORANDUM

        COMES NOW the Defendant, William Zev Steen, by and through counsel, Andrew C.

White and Marc Zayon, and hereby submits this sentencing memorandum in the above-captioned

case.

        Mr. Steen pleaded guilty on December 6, 2023, to Count One of the pending Indictment

charging him with Sexual Exploitation of a Child, in violation of 18 U.S.C. § 2251(a). The final

sentencing guidelines level in this case is forty-five (45). The government has agreed to make a

sentencing recommendation that will not exceed twenty-eight (28) years. For the reasons below,

we respectfully submit that a sentence of fifteen (15) years is reasonable under the

circumstances of this case.

        A.     THE UNDERLYING CASE

        This case arises from actions that took place sixteen (16) or more years ago

                                             .   When                                     , Mr.

Steen sexually exploited her by creating a video of her naked straddling his naked body for his

sexual gratification.          was unaware of Mr. Steen’s intent at the time, and she has no

recollection of the events today.

        These actions came to light in 2013, when Mr. Steen’s wife, Rebecca “Rivky” Steen, then

pregnant with the couple’s seventh child, discovered pornography on a laptop computer used by


                                                 1
  Case 1:23-cr-00102-SAG
       Case 1:23-cr-00102-SAG
                          Document
                              Document
                                   40 *SEALED*
                                        57 Filed 10/10/24
                                                 Filed 09/17/24
                                                           Page 2
                                                                Page
                                                                  of 262 of 26



her husband. Ms. Steen confronted her husband about her discovery. Mr. Steen admitted he

possessed the images and Ms. Steen immediately contacted their family Rabbi. The couple met

with Rabbi Neuberger, who arranged for the couple to see a therapist who specializes in trauma

therapy, a type of psychotherapy designed to help manage the impact of traumatic events on

people’s lives and relationships.

        The Steens met both as a couple and individually with the therapist on regular basis for

about one year. Early on in this counseling, Mr. Steen admitted to his actions with     and asked

for help. The Steens also immediately arranged treatment for                                   and

sought to repair the damage done to their family.              began working regularly with an

experienced therapist, though she had no recollection of the events.

        The Steens continued in regular psychotherapy, both individually and as a couple.       In

therapy, Mr. Steen detailed his actions             to both his wife and therapist.    Due to the

progress made in therapy, Ms. Steen agreed to keep the couple’s marriage intact and provide their

children with a stable family environment. Ms. Steen gave birth to                    in late 2013.

All of the Steen children have excelled in school and became closer together as a family since

2013.

        In the late summer and fall 2022, police officers, using software designed to uncover the

transmission of child pornography, discovered that a computer located at the Steen residence

contained illegal images. In November 2022, police executed a search warrant at the residence.

In that search, police recovered images of child pornography on a laptop belonging to Mr. Steen.

They also recovered a Micro SD card that contained previously deleted video files that had been

broken into thousands of pieces as a normal by-product of the deletion process. Using specialized




                                                2
    Case 1:23-cr-00102-SAG
         Case 1:23-cr-00102-SAG
                            Document
                                Document
                                     40 *SEALED*
                                          57 Filed 10/10/24
                                                   Filed 09/17/24
                                                             Page 3
                                                                  Page
                                                                    of 263 of 26



software, the police recovered still images, which depicted Mr. Steen’s actions             almost

fifteen (15) years earlier.1

        After police recovered the deleted video, they arranged for therapists with the Center for

Hope at Sinai Hospital to conduct forensic interviews of each of the Steen children

                  . These interviews were conducted in a controlled environment while a team of

law enforcement agents watched through a one-way mirror. Therapists determined that none of

the Steen children had had inappropriate contact with their father.

        During the search of the Steen residence, police also recovered a private journal kept by

Ms. Steen at the family residence. In that journal, Ms. Steen described her thoughts, feelings and

reactions to Mr. Steen’s abuse         . She also wrote of her and her husband’s psychotherapy

sessions. This, in turn, allowed police to recover the therapist’s records for both Mr. & Ms. Steen

that provided much of the detail found in the charges in this case.

        B.       BACKGROUND

Upbringing

        William Zev Steen is a 46-year-old father of seven children ranging in age from 10 to 23.

Both of his parents, Franklin and Paula Steen are accomplished educators who have held several

prestigious teaching positions in the United States and overseas. Zev was born in 1978, in

Hamburg, Germany, where both parents both worked as teachers.2 He spent the first five years

of his life in Germany, where he learned to speak German and became accustomed to German

culture.



1
        Because the images were created from the video’s deletion, they were accessible only using
specialize recovery software and were not accessible by Mr. Steen.
2
       Mr. Steen taught Math and Physics in a secondary school in Hamburg for almost nine years.
Paula Steen taught English, German, and Religion. Both taught classes completely in German.
                                                3
  Case 1:23-cr-00102-SAG
       Case 1:23-cr-00102-SAG
                          Document
                              Document
                                   40 *SEALED*
                                        57 Filed 10/10/24
                                                 Filed 09/17/24
                                                           Page 4
                                                                Page
                                                                  of 264 of 26




       Zev with his mother 1978                        Zev with his father in Hamburg, Germany in 1979

       His parents moved back to the United States in in 1982 after his father accepted a position

as a Computer Science teacher at the Choate School in Wallingford, Connecticut. The family lived

in a house on the school’s campus and Zev attended a local public school where he struggled to

adapt to the United States and learning English.




                      Zev and his brother Dan circa 1984


                                                   4
    Case 1:23-cr-00102-SAG
         Case 1:23-cr-00102-SAG
                            Document
                                Document
                                     40 *SEALED*
                                          57 Filed 10/10/24
                                                   Filed 09/17/24
                                                             Page 5
                                                                  Page
                                                                    of 265 of 26



        Four years later, in 1986, Franklin Steen received a prestigious fellowship at Columbia

University and the family moved to Manhattan. The family lived in a one-bedroom apartment --

Zev and his brother, Dan, slept in a bedroom while their parents slept in the living room. Rather

than attend public schools, both Steen boys attended a Jewish Day School in Manhattan.

        The next year, in 1987, the Steen family left New York and moved back to Connecticut.

The family settled in New Haven and the boys attended a nearby Chabad school. Franklin Steen

completed his Ph.D. in Mathematics from Columbia University in 1990, while still working at

Choate. 3




                                           Steen family in 1989

        In 1991, Franklin Steen left Choate and took a job as the Director of Instructional

Computing at Yale University. The following year, in 1992, Zev travelled to Maryland to attend

high school at the Israel Henry Beren High School, a boarding school in Baltimore.




3
        In 1994, while Zev was in Baltimore, his family moved to Brookline, Massachusetts, after Franklin Steen
accepted a position as the Director of Computing for the Faculty of Arts & Sciences (FAS) at Harvard University.

                                                       5
  Case 1:23-cr-00102-SAG
       Case 1:23-cr-00102-SAG
                          Document
                              Document
                                   40 *SEALED*
                                        57 Filed 10/10/24
                                                 Filed 09/17/24
                                                           Page 6
                                                                Page
                                                                  of 266 of 26




Zev (left) and siblings as he was about to attend High School             Family outing in 1995

         Zev graduated from the High School in 1996. He then attended Ner Israel Rabbinical

College in Baltimore. Zev earned a Bachelor of Arts in Religious Studies as well as a master’s

degree in religious studies from Ner Israel in 2003.

Family

         Mr. Steen met Rebecca Elaine Paige (Rivky) in the spring 2000 (pictured below), after

being matched up on a blind date at the Piney Run Park in Eldersburg, Maryland. Zev was a full-

time student at Ner Israel and Rivky was studying audiology at Towson University. She also

worked     part-time    as    a   receptionist    at   Commerce   Title     in   Pikesville,      Maryland.




                                                       6
  Case 1:23-cr-00102-SAG
       Case 1:23-cr-00102-SAG
                          Document
                              Document
                                   40 *SEALED*
                                        57 Filed 10/10/24
                                                 Filed 09/17/24
                                                           Page 7
                                                                Page
                                                                  of 267 of 26



The first date went well. Rivky was drawn to Zev’s intelligence and sense of humor and Zev felt

likewise. Soon thereafter, the Steen and Paige families met, and a greater family was born. Zev

and Rivky were married on September 17, 2000.




                                              7
  Case 1:23-cr-00102-SAG
       Case 1:23-cr-00102-SAG
                          Document
                              Document
                                   40 *SEALED*
                                        57 Filed 10/10/24
                                                 Filed 09/17/24
                                                           Page 8
                                                                Page
                                                                  of 268 of 26




                             .

       The Steen family is exceptionally close. They live in a modest home in Pikesville and the

house is a beehive of activity at night. All the children help around the house and help each other

out almost as a team.




       Both Zev and Rivky have been active in each of their children’s lives. Even after being

charged and arrested in this case, Zev spent hours on the phone each night from the Howard County

Detention Center speaking with the kids and helping them with their homework.            Despite the

charges in this case, each of the Steen children love their father and each child wants him to return

home as soon as possible. Each child has also written letters to the Court in support of their Dad.4

While these letters are being submitted as separate exhibits, We have included portions of each

letter below.




                                                                    .
                                                 8
Case 1:23-cr-00102-SAG
     Case 1:23-cr-00102-SAG
                        Document
                            Document
                                 40 *SEALED*
                                      57 Filed 10/10/24
                                               Filed 09/17/24
                                                         Page 9
                                                              Page
                                                                of 269 of 26




                                                                               .




                                                                           .



                                     9
Case 1:23-cr-00102-SAG
     Case 1:23-cr-00102-SAG
                        Document
                            Document
                                 40 *SEALED*
                                      57 Filed 10/10/24
                                               Filed 09/17/24
                                                         Page 10
                                                              Page
                                                                 of 26
                                                                    10 of 26




                                                                 .
Case 1:23-cr-00102-SAG Document 57 Filed 10/10/24 Page 11 of 26   26




                              11
 Case 1:23-cr-00102-SAG
      Case 1:23-cr-00102-SAG
                         Document
                             Document
                                  40 *SEALED*
                                       57 Filed 10/10/24
                                                Filed 09/17/24
                                                          Page 12
                                                               Page
                                                                  of 26
                                                                     12 of 26



Employment

       Mr. Steen worked the equivalent of three (3) full-time jobs for eight years before his arrest.

He was employed as a teacher at Bnos Yisroel, a private school in Baltimore. He also maintained

a second job as a Director at Technology Awareness Group, a non-profit organization based in

Baltimore. Zev had a third job working with his brother Dan to start a business named MirageID.

MirageID designed and developed software for corporate clients.             Dan handled software

development and Zev was responsible for investor relations and securing new investments.

Because the company was brand new, it made no money. All funds were plowed back into

developing the business. These three jobs collectively did not pay well – only about $27,000 per

year – and the family struggled to make ends meet. Duct tape was used to make sneakers last

longer and Rivky used an iron to put patches on pants and shirts that were roughed up by everyday

use. Credit card debt was high and it seemed that the family received calls from creditors every

day, including a foreclosure notice. But while the family did not have significant income, all four

girls’ tuition was paid by Bnos Yisroel because of Zev’s status as a teacher and each of the three

boys attended quality religious schools at reduced tuition. Education was and is a top priority in

the Steen family.

       Despite the significant stress of working three full time jobs, Zev always found the time to

support his family. As is evident from the letters from his children, he is a dedicated father and

each of his children has thrived despite the family’s lack of income. In many ways, coming home

each night to a house full of children was in many ways a relief for Zev Steen. Despite the financial

struggles, he is very proud of his children’s development and success.

Effect of the Current Charges on the Family

       This criminal case has put a tremendous strain on the Steen family. Rivky Steen worked

hard to heal herself and her family in the aftermath of her husband’s disclosure in 2013 of his
                                                 12
 Case 1:23-cr-00102-SAG
      Case 1:23-cr-00102-SAG
                         Document
                             Document
                                  40 *SEALED*
                                       57 Filed 10/10/24
                                                Filed 09/17/24
                                                          Page 13
                                                               Page
                                                                  of 26
                                                                     13 of 26



conduct            . The road to psychological repair is long and, in many ways, endless, requiring

constant adjustment and forgiveness. Zev Steen was doing his part as a committed and loving

father to his family and his love has helped each of his children to thrive. But his 2022 arrest in

this case has created a palpable void that each member of the family experiences every day. This

much is seen in the letters written to the Court by the Steen children. It is also described by Rivky

Steen:

         beneath all of this, lies unadulterated pain. Zev’s abrupt removal from our family has
         caused inordinate damage to each one of us. Zev is an extremely devoted father. He has
         given the very fiber of his being to his family and children. He is the one who did STEM
         projects with our children and developed their interest in that. He cultivates each child’s
         unique interest.




                                    .




                            .

                                                 13
 Case 1:23-cr-00102-SAG
      Case 1:23-cr-00102-SAG
                         Document
                             Document
                                  40 *SEALED*
                                       57 Filed 10/10/24
                                                Filed 09/17/24
                                                          Page 14
                                                               Page
                                                                  of 26
                                                                     14 of 26




                                                                                                   .
Reaction to Incarceration

       Despite being incarcerated for almost two years, Mr. Steen has continued to play a role in

the lives of his children. After his initial arrest on related State charges, he talked on the phone

with his children every school day and helped them with homework. He also spoke with each

child about their day and how they were doing. The kids very much looked forward to the precious

time on the phone with their Dad. Once federal charges were brought, Mr. Steen was no longer

able to speak with his children as easily and he is no longer able to help them with schoolwork or

anything else. Again, the kids very much miss their father.

       But Mr. Steen has written numerous letters to his children and he continues to support them

and encourage them.      He has done everything in his power to remain a positive force in his

children’s lives. For example, in a recent letter        , he wrote in part:




                                                    14
Case 1:23-cr-00102-SAG
     Case 1:23-cr-00102-SAG
                        Document
                            Document
                                 40 *SEALED*
                                      57 Filed 10/10/24
                                               Filed 09/17/24
                                                         Page 15
                                                              Page
                                                                 of 26
                                                                    15 of 26




                                    15
 Case 1:23-cr-00102-SAG
      Case 1:23-cr-00102-SAG
                         Document
                             Document
                                  40 *SEALED*
                                       57 Filed 10/10/24
                                                Filed 09/17/24
                                                          Page 16
                                                               Page
                                                                  of 26
                                                                     16 of 26



Mr. Steen also wrote a letter to        :




       Mr. Steen has also spent a great deal of time working positively with fellow inmates

while at the Howard County Detention Center. In fact, his work with inmates at that facility

prompted Rabbi Sholom Reindrop, the Jewish Chaplin at the detention center, to write a letter

(attached) to the Court. In that letter, Rabbi Reindrop writes in part:




                                                16
 Case 1:23-cr-00102-SAG
      Case 1:23-cr-00102-SAG
                         Document
                             Document
                                  40 *SEALED*
                                       57 Filed 10/10/24
                                                Filed 09/17/24
                                                          Page 17
                                                               Page
                                                                  of 26
                                                                     17 of 26




       In short, Mr. Steen has continued as a positive force to help his family and others despite

the charges in this case and his incarceration. This, frankly, speaks volumes about the man.

       C.     SENTENCING FACTORS

       This memorandum is submitted to provide information to assist the Court in fashioning a

sentence “sufficient but not greater than necessary” to achieve the statutory purposes of

punishment, as required by 18 U.S.C. § 3553(a) under United States v. Booker, 543 U.S. 220

(2005). The Court is no doubt aware of the broad ramifications of Booker for this proceeding.

       In Booker, the Supreme Court restored this Court’s ability to fashion a sentence tailored to

the unique circumstances of each case and each criminal defendant by requiring courts to consider

factors other than the sentencing range prescribed by the United States Sentencing Guidelines.

United States v. Hughes, 396 F.3d 374, 381 (4th Cir. 2005). Thus, although this Court still must

take the Sentencing Guidelines into account, Booker rendered the Sentencing Guidelines advisory.

See Gall v. United States, 128 S. Ct. 586, 594 (2007); United States v. Pauley, 511 F.3d 468 (4th

Cir. 2007). The sentencing guideline range is no longer binding on the Court but is only one of


                                               17
 Case 1:23-cr-00102-SAG
      Case 1:23-cr-00102-SAG
                         Document
                             Document
                                  40 *SEALED*
                                       57 Filed 10/10/24
                                                Filed 09/17/24
                                                          Page 18
                                                               Page
                                                                  of 26
                                                                     18 of 26



several factors in §3553 (a) to be considered in determining the sentence. Booker, 543 U.S. at 258-

60. See also Nelson v. United States, 129 S. Ct. 890 (2009) (per curiam); Spears v. United States,

129 S. Ct. 840 (2009) (per curiam).

       In considering the § 3553(a) factors, the sentencing guidelines are to be given no more or

less weight than any other factor. And the Guidelines are not to be given any “presumption of

reasonableness.” Rita v. United States, 127 S. Ct. 2456 (2007). The “overarching” command of

§ 3553(a) is the Parsimony Clause, which “instruct[s] district courts to ‘impose a sentence

sufficient, but not greater than necessary’ to accomplish the goals of sentencing.” Kimbrough, 128

S.Ct. 558, 563 (2007)(quoting Gall, 128 S.Ct. at 600).

       In Pepper v. United States, 131 S.Ct. 1229 (2011), the Supreme Court held that a sentencing

court may consider factors prohibited by the advisory sentencing guidelines and may use such

factors to reach a just and appropriate sentence even if it results in a dramatic deviation from the

Guidelines’ recommended sentence.

       The result of this line of cases is a movement away from adherence to Guidelines sentences

of lengthy incarceration, and toward individualized sentencing, in which the District Court is

empowered to impose a just sentence based on the unique characteristics of the defendant and the

full nature and circumstance surrounding the offense. As stated by Justice Sotomayor writing for

the Court in Pepper, this is a return to the federal judicial tradition of sentencing that “punishment

should fit the offender and not merely the crime.” Id. at 1240.

       In following this procedure, Mr. Steen respectfully requests that the Court impose the

minimum mandatory sentence of 15 years’ incarceration.

   1. The Advisory Sentencing Guidelines

   The parties agree that the applicable advisory sentencing guideline range for this case dwarfs

the 30-year statutory maximum for the charged offense. The guidelines call for a sentence of life
                                                 18
         Case 1:23-cr-00102-SAG Document 57 Filed 10/10/24 Page 19 of 26                      26



imprisonment even though Mr. Steen has no criminal record and the primary offense in this case

occurred over 16 years ago. It is difficult to comprehend how a sentence suggested by the 2G

guidelines would in any way further the goals of federal sentencing.     As noted by the Second

Circuit in United States v. Dorvee, 616 F.3d 174 (2nd Cir. 2010),


        Sentencing Guidelines are typically developed by the Sentencing Commission
        using an empirical approach based on data about past sentencing practices. See Rita
        v. U.S., 551 U.S. 338, 349, 127 S.Ct. 2456, 168 L.Ed.2d 203 (2007). However, the
        Commission did not use this empirical approach in formulating the Guidelines for
        child pornography. Instead, at the direction of Congress, the Sentencing
        Commission has amended the Guidelines under § 2G2.2 several times since their
        introduction in 1987, each time recommending harsher penalties.

Id. at 185.

        The Second Circuit in that case warned that the application of the 2G guidelines, “unless

applied with great care, can lead to unreasonable sentences that are inconsistent with what § 3553

requires.”    Id.   (emphasis added). The Advisory Guidelines level (46) is substantively

unreasonable in this case.

        2.     The Nature and Seriousness of the Offense

        The charged offense is very serious – so much so that Congress set a mandatory minimum

penalty of 15 years’ incarceration. It is important to remember, however, that the charged conduct

happened over 16 years ago and has never been repeated since that time. The video depiction was

never distributed or transmitted in any way, and it was deleted by Mr. Steen many years ago.

Moreover, the victim,             , has no recollection of the events,




                                                19
 Case 1:23-cr-00102-SAG
      Case 1:23-cr-00102-SAG
                         Document
                             Document
                                  40 *SEALED*
                                       57 Filed 10/10/24
                                                Filed 09/17/24
                                                          Page 20
                                                               Page
                                                                  of 26
                                                                     20 of 26



       3. The History and Characteristics of the Defendant

       Zev Steen is a remarkable, yet flawed man. As is evident from his life story and the letters

submitted by his family and others, he and Rivky have raised seven beautiful children, all of whom

are smart, talented and independent. Despite having very little income and working three very

stressful jobs, Mr. Steen has ensured that each of his children receives a quality education and gets

the parental time and attention necessary to thrive as they grow. They have all been raised with the

love and skills to succeed. The Steen children are a wonderful, direct reflection of their father.




       Remarkably, Mr. Steen has preserved despite his incarceration and the dire consequences

he faces. His focus remains on his family, not himself. There are not many defendants who spend

hours on the phone from jail helping their children with homework. Likewise, there are not many

defendants who, in the words of Rabbi Reindrop, “share wisdom, faith, and moral guidance with

cellmates, encouraging them to transform their lives and strive for personal betterment.” As an

                                                 20
  Case 1:23-cr-00102-SAG
       Case 1:23-cr-00102-SAG
                          Document
                              Document
                                   40 *SEALED*
                                        57 Filed 10/10/24
                                                 Filed 09/17/24
                                                           Page 21
                                                                Page
                                                                   of 26
                                                                      21 of 26



example, we have set forth below an excerpt from a letter to Mr. Steen from a fellow inmate at the

Howard County Detention Center, Matthew Barth, who benefitted from his time with Mr. Steen

at that facility.




        Larry Tucker, another fellow inmate at the Howard County Detention Center, writes:

        “Because of my background, I had a particularly difficult time dealing with jail.
        William saw me, noticed my pain and sat down to talk. . . . William is incredibly
        understanding and compassionate. He helped me to see my situation in a positive
        light instead of being weighed down by unhappiness and misery. . . . Our
        discussions helped me to see that this situation may actually be a blessing. My
        life is worthwhile. . . I have seen William help others in the same way. His
        personality is such that he naturally helps others. . . He respects everyone.”

        Inmate Alex Kervin wrote a letter on Mr. Steen’s behalf. That letter is attached as a

exhibit and set forth in part below.




                                                21
 Case 1:23-cr-00102-SAG
      Case 1:23-cr-00102-SAG
                         Document
                             Document
                                  40 *SEALED*
                                       57 Filed 10/10/24
                                                Filed 09/17/24
                                                          Page 22
                                                               Page
                                                                  of 26
                                                                     22 of 26




       We submit these letters and anecdotes to illustrate Mr. Steen’s positive influence on

fellow inmates.




                                               22
 Case 1:23-cr-00102-SAG
      Case 1:23-cr-00102-SAG
                         Document
                             Document
                                  40 *SEALED*
                                       57 Filed 10/10/24
                                                Filed 09/17/24
                                                          Page 23
                                                               Page
                                                                  of 26
                                                                     23 of 26



       As U.S. District Judge Rakoff noted in United States v. Adelson, 441 F.Supp.2d 506,

(SDNY 2006):

       But, surely, if ever a man is to receive credit for the good he has done, and his
       immediate misconduct assessed in the context of his overall life hitherto, it should
       be at the moment of his sentencing, when his very future hangs in the balance. This
       elementary principle of weighing the good with the bad, which is basic to all the
       great religions, moral philosophies, and systems of justice, was plainly part of what
       Congress had in mind when it directed courts to consider, as a necessary sentencing
       factor, “the history and characteristics of the defendant.”

441 F.Supp.2d at 513-14.

       4. Just Punishment for the Offense and Deterrence of Future Criminal Conduct.

       One of the most important purposes of sentencing is “to protect the public from further

crimes.” 18 U.S.C. §3553(a)(2)(C). It is clear from the facts here that Mr. Steen is not a threat to

others. The events             happened over 16 years ago and have never been repeated. Since

that time, he has worked three jobs all requiring significant interaction with people and started a

business. He also raised a family of seven in very difficult financial circumstances. In short, he

has succeeded. As the Court can see from the letters submitted by the Steen children, these are

wonderful, well-adjusted young people who love their father greatly. There simply is no need to

protect the public from Mr. Steen.

       As to just punishment and deterrence, it is important to keep in mind that Mr. Steen faces

a minimum mandatory sentence of fifteen (15) years. This is a huge sentence by any standard and

one that Congress believes provides significant deterrence and punishment. Mr. Steen is 46 years

old. By the time he completes a 15-year sentence, he will be close to sixty (60). It is difficult to

imagine that the Government has any interest in keeping him incarcerated past that point.




                                                23
 Case 1:23-cr-00102-SAG
      Case 1:23-cr-00102-SAG
                         Document
                             Document
                                  40 *SEALED*
                                       57 Filed 10/10/24
                                                Filed 09/17/24
                                                          Page 24
                                                               Page
                                                                  of 26
                                                                     24 of 26



        It is crucial to keep in mind the following facts about Mr.Steen and this case:

       ◼    He has been married for 24 years and has seven wonderful children and a supportive

           wife, all of whom are struggling with the aftermath of this case;

       ◼ Mr. Steen has no prior criminal record at all.

       ◼ He has an impressive education and has worked more than full-time for many years

           while also successfully raising a family.

       ◼ His post-incarceration conduct has been stellar. He continues to help his children and

           has been a proven positive force for fellow inmates – so much so that the prison

           chaplain felt compelled to write to the Court.

       ◼ He has shown a strong internal motivation to continue to address his psychological

           issues and still be a positive force in his children’s lives.

       ◼ The federal courts enjoy a powerful system of supervised release that can effectively

           monitor activity in these types of cases and ensure public safety while promoting

           rehabilitation of offenders. We respectfully submit that Mr. Steen needs effective

           treatment and monitoring.

But perhaps most importantly, the victim in this case,

                                                                                                    .

Given that protecting victims is a recognized goal of federal sentencing, the minimum mandatory

sentence of fifteen years is a sentence that provides very significant punishment and is the sentence

that reduces harm to the primary victim as much as possible.

       A sentence of fifteen years followed by a significant period of supervised release will

provide significant punishment, promote respect for the law, provide general and specific

deterrence, and will enable Mr. Steen to continue on a positive path in the future.



                                                  24
 Case 1:23-cr-00102-SAG
      Case 1:23-cr-00102-SAG
                         Document
                             Document
                                  40 *SEALED*
                                       57 Filed 10/10/24
                                                Filed 09/17/24
                                                          Page 25
                                                               Page
                                                                  of 26
                                                                     25 of 26



D.     SENTENCING REQUEST

       We submit that, under the circumstances of this case, the Court should impose the

mandatory minimum sentence of fifteen years, coupled with a significant period of supervised

release that includes psychological treatment and computer monitoring. Such a sentence balances

the competing goals of sentencing as set forth in 18 U.S.C. § 3553 and is more than adequate, but

not greater than necessary, to meet those goals.


                                      Respectfully submitted,


                                                        /s/
                                      Andrew C. White
                                      Federal Bar No. 08821
                                      Silverman, Thompson, Slutkin & White, LLC
                                      400 East Pratt Street
                                      Suite 900
                                      Baltimore, MD 21201
                                      Telephone: 410-385-2225
                                      Facsimile: 410-547-2432
                                      awhite@silvermanthompson.com




                                                   25
 Case 1:23-cr-00102-SAG
      Case 1:23-cr-00102-SAG
                         Document
                             Document
                                  40 *SEALED*
                                       57 Filed 10/10/24
                                                Filed 09/17/24
                                                          Page 26
                                                               Page
                                                                  of 26
                                                                     26 of 26



                                    CERTIFICATE OF SERVICE

           I hereby certify that on the 16th day of September, 2024, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which sent notification of such filing to all

parties.


                                                  _______________/s/________________________
                                                  Andrew C. White, Esquire
                                                  Federal Bar No. 08821
                                                  Silverman, Thompson, Slutkin & White, LLC
                                                  400 East Pratt Street, Suite 900
                                                  Baltimore, MD 21202
                                                  Telephone: 410-385-2225
                                                  Facsimile: 410-547-2432
                                                  awhite@silvermanthompson.com




                                                    26
